
By the Court.—Sedgwick, Ch. J.
The plaintiff is a corporation formed under the act of this state for the formation of manufacturing and other kinds of corporations. It contests in this action the validity of a mortgage upon the real estate of the corporation made to secure the payment of bonds of some of which the defendants are the holders. The ground taken to impeach the validity is, that “the written assent of the stockholders owning at least two-thirds of the capital stock ” of the corporation was not given. There was a written assent. The plaintiff’s- claim as to this is, that eighty shares represented in the assent had never been lawfully issued, and that the remaining shares represented were not two-thirds of the capital. The learned judge below, in effect, found that if the eighty shares . were excluded, there were still represented in the assent two-thirds of the capital stock.
In this he was correct, under the case of Greenpoint Sugar Co. v. Whitin, 69 N. Y. 328. That case decided that “ for the purposes of this act, * * * the amount actually issued and owned, should be regarded as the amount of the capital stock. The design was to confer this power' of assent upon those who represented two-thirds of the actual stock. They represented two-thirds of *543the pecuniary interest and property of the corpora* tion.
The learned counsel for the plaintiff argues that the case cited makes a limitation of the general principle announced, by saying in reference to what it held to be the amount of the capital stock or the 2,000 shares, “and -for aught that appears no more was intended to be issued.” The meaning of this I take to be, that an assent to a mortgage made by two-thirds of the then capital stock, will not be sufficient if, also, then there is a definite intention of increasing the actual stock by future issuing of shares in a manner that will increase the actual stock. The intention referred to is not a general intention, that is presumed as to all shares not transferred. It would be an attempt to evade the statute, that a mortgage should be made upon the assent of two-thirds of the actual capital, when that was accompanied by the beginning of an arrangement to increase the capital, or even by an intention forthwith to make such an arrangement. That method would be fraudulent as to those who might afterwards become the owners of shares.
In the present case the fact is, that if there were an intention to issue the shares, 120 in number, of which the eighty was represented in the assent, the result would be that those 120 shares must be considered part of the actual capital, and then the “ persons to whom the issue was made would be considered the owners of the shares. In such case there was an assent of two-thirds of the capital stock upon the position taken by the plaintiff.
There was further objection taken on the ground that 40 shares represented in the assent had not been paid for in full, but had been paid for only to the extent of the nominal value of 12 shares. It is held in Wheeler v. Millar, 90 N. Y. 359, that neither the issuing of a certificate for shares, nor payment *544for the shares, is indispensable to a subscriber being .an owner of shares in capital stock “ whatever maybe said of a case where no fact is present as the foundation of an inference that title has passed, except the bare fact of a subscription, it is entirely reasonable that where, in addition, the corporation has explicitly recognized the alleged stockholder as such, and the latter has acted in that capacity, such facts should be deemed sufficient to justify a conclusion of ownership and make the subscriber a stockholder. ” In the present case, the facts justified the inference made by the judge below, that the persons who claimed in the assent to be the owners of the 40 shares, were, in fact, stockholders and owners of capital stock to that amount.
It is not necessary to determine that the 120 shares were or were not legally issued. They were issued to the other stockholders without any consideration received by the corporation. Whether they were legally issued or not, the result in -this case would be the same. The findings show that the judge below acted upon this view.
The plaintiff further complains of the issuing of bonds of the company to the defendants, or some of them, upon the consideration of the payment to the company of 75 per cent, of the face of the bonds. The transaction in itself is not invalid. If the obligation were given by a natural person, there might be a valid objection that they were void for usury. A corporation cannot avoid its obligations for such a reason.
Assuming, however, that such of the defendants as were trustees of the company when they took the bonds from the company, held such a relation to the company that the company could avoid the transaction, that right to avoid was an equitable right. The transaction was not void, and might be ratified. And if the stockholders ratified, expressly *545or by acquiescence, after knowledge for a sufficient time, the plaintiff cannot avoid. The finding below, that there was such a ratification or acquiescence by all the stockholders, was supported by direct and circumstantial evidence.
The case does not disclose any error, and the judgment should be affirmed with costs.
Freedman, J., concurred.
